Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 1 of 92 PageID #: 1




                                                 24-cv-7795-DG-JAM
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 2 of 92 PageID #: 2
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 3 of 92 PageID #: 3
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 4 of 92 PageID #: 4
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 5 of 92 PageID #: 5
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 6 of 92 PageID #: 6
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 7 of 92 PageID #: 7
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 8 of 92 PageID #: 8
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 9 of 92 PageID #: 9
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 10 of 92 PageID #: 10
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 11 of 92 PageID #: 11
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 12 of 92 PageID #: 12
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 13 of 92 PageID #: 13
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 14 of 92 PageID #: 14
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 15 of 92 PageID #: 15
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 16 of 92 PageID #: 16
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 17 of 92 PageID #: 17
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 18 of 92 PageID #: 18
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 19 of 92 PageID #: 19
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 20 of 92 PageID #: 20
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 21 of 92 PageID #: 21
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 22 of 92 PageID #: 22
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 23 of 92 PageID #: 23
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 24 of 92 PageID #: 24
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 25 of 92 PageID #: 25
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 26 of 92 PageID #: 26
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 27 of 92 PageID #: 27
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 28 of 92 PageID #: 28
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 29 of 92 PageID #: 29
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 30 of 92 PageID #: 30
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 31 of 92 PageID #: 31
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 32 of 92 PageID #: 32
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 33 of 92 PageID #: 33
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 34 of 92 PageID #: 34
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 35 of 92 PageID #: 35
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 36 of 92 PageID #: 36
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 37 of 92 PageID #: 37
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 38 of 92 PageID #: 38
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 39 of 92 PageID #: 39
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 40 of 92 PageID #: 40
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 41 of 92 PageID #: 41
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 42 of 92 PageID #: 42
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 43 of 92 PageID #: 43
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 44 of 92 PageID #: 44
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 45 of 92 PageID #: 45
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 46 of 92 PageID #: 46
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 47 of 92 PageID #: 47
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 48 of 92 PageID #: 48
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 49 of 92 PageID #: 49
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 50 of 92 PageID #: 50
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 51 of 92 PageID #: 51
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 52 of 92 PageID #: 52
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 53 of 92 PageID #: 53
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 54 of 92 PageID #: 54
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 55 of 92 PageID #: 55
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 56 of 92 PageID #: 56
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 57 of 92 PageID #: 57
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 58 of 92 PageID #: 58
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 59 of 92 PageID #: 59
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 60 of 92 PageID #: 60
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 61 of 92 PageID #: 61
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 62 of 92 PageID #: 62
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 63 of 92 PageID #: 63
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 64 of 92 PageID #: 64
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 65 of 92 PageID #: 65
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 66 of 92 PageID #: 66
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 67 of 92 PageID #: 67
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 68 of 92 PageID #: 68
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 69 of 92 PageID #: 69
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 70 of 92 PageID #: 70
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 71 of 92 PageID #: 71
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 72 of 92 PageID #: 72
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 73 of 92 PageID #: 73
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 74 of 92 PageID #: 74
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 75 of 92 PageID #: 75
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 76 of 92 PageID #: 76
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 77 of 92 PageID #: 77
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 78 of 92 PageID #: 78
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 79 of 92 PageID #: 79
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 80 of 92 PageID #: 80
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 81 of 92 PageID #: 81
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 82 of 92 PageID #: 82
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 83 of 92 PageID #: 83
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 84 of 92 PageID #: 84
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 85 of 92 PageID #: 85
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 86 of 92 PageID #: 86
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 87 of 92 PageID #: 87
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 88 of 92 PageID #: 88
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 89 of 92 PageID #: 89
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 90 of 92 PageID #: 90
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 91 of 92 PageID #: 91
Case 1:24-cv-07795-DG-JAM   Document 1   Filed 11/08/24   Page 92 of 92 PageID #: 92
